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Attorneys for P]ajntiff,
Sandra Huelsman

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Sandra I-Iuelsman, ' Case No.:SHC\/}%"M 22" ;WS [D §:r

Plaintiff, C()MPLAINT FOR DAMAGES

1. VIOLATION OF FAIR I)EBT
vs. COLLECTION PRACTICES ACT,
15 U.S.C. § 1692 ET. SEQ;
Worldwide Recoveries, LLC; P]atinum 2. VIOLATION OF FAIR DEBT
Recovery, LLC; Prernium Asset Services, COLLECTION PRATICES ACT,

LLC a/k/a PAS Services; Premium CAL.CIV.CODE § 1788 ET. SEQ.
Receivables, LLC; and DOES 1-10, 3. VIOLATIONS OF THE
inclusin TELEPHONE CONSUMER
PROTECTION ACT -
Defendants.. 47 U.S.C. § 227, ET SEQ.
JURY TRIAL DEMANDED

 

 

 

COMPLA]NT FOR DAMAGES

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For this Complaint, the Plaintiff, Sandra Huelsman, by undersigned counsel,

states as follows:

,|URISDICTION

l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), violations of the
Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. (“TCPA”), and the
invasions of Plaintiff’s personal privacy by the Defendants and its agents in their
illegal efforts to collect a consumer debt.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 139l(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to

this action occurred here.

PARTIES

4. The Plaintiff, Sandra Huelsrnan (hereafter “Plaintiff”), is an adult
individual residing in Los Angeles, California, and is a “consumer” as the term is
defined by 15 U.S.C. § l692a(3) and is a “person” as defined by 47 U.S.C. § 153(10).

5. Defendants, Worldwide Recoveries, LLC, Platinum Recovery, LLC,
Premium Asset Services, LLC a/k/a PAS Services, and Premium Receivables, LLC
(collectively “Defendants”), are each business entities that engage in collection

activity Within the state of California and the County of Los Angeles. Each Defendant

 

2 COMPLAINT FOR DAMAGES

 

 

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is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6), and is a “person”
as defined by 47 U.S.C. § 153(10).

6. The Defendants are intricately bound together and combine their efforts
in attempts to collect debts allegedly owed by consumers. Although each Defendant is
registered as an independent entity, Defendants share the same phone numbers, same
offices, and the same principals As more fully set forth below, Defendants operate
together in such a way that it is impossible to distinguish entity one from the other,
and as such they are jointly and severally liable for the acts of their counterparts.

7. Does 1-10 (the “Collectors”) are individual collectors employed by
Defendants and whose identities are currently unknown to the Plaintiff. One or more

of the Collectors may be joined as parties once their identities are disclosed through

discovery.
8. Defendants at all times referenced herein acted together and/or by and
through one or more of the Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS
A. The Debt

9. The Plaintiff allegedly incurred a financial obligation (the “Debt”) to a

creditor (the “Creditor”).

 

3 COMPLAINT FOR DAMAGES

 

 

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10. The Debt arose from services provided by the Creditor which were
primarily for family, personal or household purposes and which meets the definition
of a “debt” under 15 U.S.C. § 1692a(5).

11. The Debt was purchased, assigned or transferred to Defendants for
collection, or Defendants was employed by the Creditor to collect the Debt.

12. The Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § 1692a(2).

B. The Facts

13. Within the last year, Defendants contacted Plaintiff in an attempt to
collect the Debt.

14. During the initial communication and during some communications
thereafter, Defendants failed to inform Plaintiff that the purpose of the calls was to
collect the Debt.

15. Defendants’ representative referred to himself as a “legal advisor,”
causing Plaintiff to believe she was speaking to an attomey.

16. Defendants failed to state their true identity during calls to Plaintiff and
would often times interchange their names when speaking to Plaintiff. Defendants also
manipulated the caller identification system and would ca11 Plaintiff using different
company names. This caused Plaintiff to be confused and worried that several

different companies were attempting to collect the same Debt or various debts.

 

4 COMPLAINT FOR DAMAGES

 

 

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17. Defendants called Plaintiff on her cellular telephone at an excessive and

harassing rate, causing her phone to ring daily, two to three times a day.

M
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et sea.

18. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

19. The Defendants engaged in behavior the natural consequence of which
was to harass, oppress, or abuse the Plaintiff in connection with the collection of a
debt, in violation of 15 U.S.C. § 1692d.

20. The Defendants caused a phone to ring repeatedly and engaged the
Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
of 15 U.S.C. § 1692d(5).

21. The Defendants placed calls to the Plaintiff without disclosing the
identity of the debt collection agency, in violation of 15 U.S.C. § 1692d(6).

22. By hiding their true identity and causing confusion as to which entity was
calling Plaintiff, Defendants used a deceptive means with which to collect a debt in
violation of 15 U.S.C. § 1692e.

23. The Defendants failed to inform the consumer that the communication

was an attempt to collect a debt, in violation of 15 U.S.C. § 1692e(11).

 

5 COMPLAINT FOR DAMAGES

 

 

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24. The Defendants used unfair and unconscionable means to collect a debt,
in violation of 15 U.S.C. § 1692f.

25. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited
provisions.

26. The Plaintiff is entitled to damages as a result of the Defendants’
violations.

M
VI()LATION 0F THE ROSENTHAL FAIR DEBT C()LLECTION
PRACTICES ACT, Cal. Civ. Code § 1788 et sea.
27. The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

28. The Rosenthal Fair Debt Collection Practices Act, Califomia Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

29. Defendants, in the regular course of business, engages in debt collection
and is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

30. The Defendants did not disclose the identity of the debt collection agency

when communicating with the Plaintiff, in violation of Cal. Civ. Code § 1788.11(b).

 

6 COMPLAINT FOR DAMAGES

 

 

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31. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
of Cal. Civ. Code § 1788.11(d).

32. The Defendants communicated with the Plaintiff with such frequency as
to be considered harassment, in violation of Cal. Civ. Code § 1788.11(e).

33. The Defendants failed to comply with the provisions of 15 U.S.C. §
1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).

34. The Defendants did not comply with the provisions of Title 15 , Section

1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.

 

 

35. The Plaintiff is entitled to damages as a result of the Defendants’
violations.
M
VI()LATI()NS OF THE TELEPH()NE CONSUMER PROTECTION ACT -
47 U.S.C. § 227, et sea.
36. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

37. At all times mentioned herein and within the last four years, Defendants
called Plaintiff on her cellular telephone using an automatic telephone dialing system
(“ATDS” or “Predictive Dialer”).

38. The TCPA prohibits the use of a Predictive Dialer, defined as “a dialing

system that automatically dials consumers’ telephone numbers in a manner that

 

7 COMPLAINT FOR DAMAGES

 

 

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“predicts” the time when a consumer will answer the phone and a [representative] will
be available to take the call. . .”2003 TCPA Order, 18 FCC 36 Rcd 14022. When a
representative is not “free to take a call that has been placed by a predictive dialer, the
consumer answers the phone only to hear ‘dead air’ or a dial tone, causing
frustration.” Id. In addition, the TCPA places prohibitions on companies that
“abandon” calls by setting “the predictive dialers to ring for a very short period of
time before disconnecting the call; in such cases, the predictive dialer does not record
the call as having been abandoned.” Id.

39. Defendants’ telephone systems have all the earmarks of a Predictive
Dialer. Often times when Defendants called Plaintiff, the phone would ring only two
times and then Defendants telephone system would abandon the call before Plaintiff
could answer the telephone.

40. When Plaintiff answered the phone, she experienced the “dead air” of the
Predictive dialer, and was required to say “hello” several times before Defendants’
phone system would connect her to the next available representative.

41. Defendants’ Predictive Dialers have the capacity to store or produce
telephone numbers to be called, using a random or sequential number generator.

42. Plaintiff never provided her cellular telephone to Defendants and never

provided her consent to be contacted on her cellular telephone.

 

8 COMPLAINT FOR DAMAGES

 

 

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43. The calls from Defendant to Plaintiff were not placed for “emergency
purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).

44. Each of the aforementioned calls made by Defendant constitutes a
violation of the TCPA.

45. As a result of each of Defendant’s negligent violations of the TCPA,
Plaintiff is entitled to an award of $500.00 in statutory damages for each call placed in
violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

46. As a result of each of Defendant’s knowing and/or willful violations of
the TCPA, Plaintiff is entitled to an award of treble damages in an amount up to
$1,500.00 for each and every violation of the TCPA pursuant to 47 U.S.C.

§ 227(b)(3)(B) and 47 U.s.c. § 227(b)(3)(C).

COUNT IV
INVASI()N C)F PRIVACY BY INTRUSION UPON SECLUSION

47. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

48. The Restatement of Torts, Second, § 652B defines intrusion upon
seclusion as, “One who intentionally intrudes. . .upon the solitude or seclusion of
another, or his private affairs or concems, is subject to liability to the other for

invasion of privacy, if the intrusion would be highly offensive to a reasonable person.”

 

9 COMPLAINT FOR DAMAGES

 

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49. Califomia further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated Califomia state law.

50. The Defendants intentionally intruded upon Plaintiff’s right to privacy by
continually harassing Plaintiff with the above referenced telephone calls.

51. The telephone calls made by the Defendants to Plaintiff were so
persistent and repeated with such frequency as to be considered, “hounding the
plaintif ,” and, “a substantial burden to her existence,” thus satisfying the Restatement
of Torts, Second, § 652B requirement for an invasion of privacy.

52. The conduct of the Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

5 3. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

54. All acts of the Defendants and its agents were committed with malice,
intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

 

10 COMPLAINT FOR DAMAGES

 

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A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

Defendants;

. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

against the Defendants;

. Costs of litigation and reasonable attomey’s fees pursuant to 15 U.S.C.

§ 1692k(a)(3) against the Defendants;

. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);

. Statutory damages of $1,000.00 for knowingly and willfully committing

violations pursuant to Cal. Civ. Code § 1788.30(b);

. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

. Actual damages from the Defendants for the all damages including

emotional distress suffered as a result of the intentional, reckless, and/or
negligent FDCPA violations and intentional, reckless, and/or negligent
invasions of privacy and intentional infliction of emotional distress in an

amount to be determined at trial for the Plaintiff;

. Punitive damages; and

. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

 

 

 

11 COMPLAINT FOR DAMAGES

 

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DATED: December 4, 2013 TAMMY HUSSIN
/\/` "\A~
By:

Tammy Hussin, Esq.
Lemberg & Associates, LLC
Attomey for Plaintiff, Sandra Huelsman

 

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12 COMPLAINT FOR DAMAGES

 

 

 

Case 8:13-cv-01922-.]VS-DF|\/| Document 1 Filed 12/10/13 Page 13 of 16 Page |D #:13

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIPORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES ]UDGES

This case has been assigned to District ]udge ]ames V. Selna and the assigned

Magistrate Iudge is Douglas F. McCormicl<

 

The case number on all documents filed With the Court should read as follows:

SACV13- 1922-]VS (FFMX)

 

Pursnant to Generai Order 05-07 of the United States District Court for the Central District of
California, the Magistrate ]udge has been designated to hear discovery related motions

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerl<, U. S. District Court

 

 

 

December 10, 2013 By MDAVIS`
Date Deputy Clerk
N()TICE TO COUNSEL

A copy of this notice must be served With the summons and complaint on all defendants (ifo removal action is

filed, o copy ofthis notice must be served on all plointi)j”s).
Subsequent documents must be filed at the following location:

|:| Western Division Southern Division |:| Eastern Division

312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470` TWelfth Stl‘-cet, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-lS (08/13) NOTICE OF ASSIGNMENT 'I`O U`NITED STATBS ]UDGES

 

 

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l. (a] PLA|NT|FFS ( Check box if you are representing yourself |:| )

Sandra Huelsman

DEFENDANTS

[Check box if you are rep

resenting yourself |:l )

Worldwide Recoveries. LLC; Platinum Recovery, Li_C; Premium Asset
Services, LLC aikia PAS Services; Premium Receivab|es, LLC

 

(b] Attorneys {Firm Name, Adciress and Telephone Number. if you
are representing yourself, provide same information.)

Tammy Hussin, 6404 |V|er|in Dliue, Carishad, CA 92011; (855) 301-2300 e)rt.
5514; of counsel to Lemberg 81 Associates, LLC, 1100 Surnmer Street. Third

FlOOI', Siamerd, CT 06905; (203) 653-2250

 

(b) Attorneys (Firm i\iame, Address and Telephone Number. if you
are representing yourself, provide same information.}

 

Il. BAS|$ OF JUR|SD|CTION (Place an X in one box only.)

1. U.S.Government
Plaintiff

2. U.S. Government
Defendant

3. Federal Question (U.S.
Government Not a Party)

|:| 4. Diversity (|ndicate Citizenship
of Parties in item |||)

 

 

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V.REQUESTED IN COMPLA|NT: JURY DEMAND: § YES |:| NO
|:|Yes -No

CLASS ACTlON under F.R.CV.P. 23:

(Check "Yes" only if demanded in complaint.)

|Zi MoNEY DEMANDEDIN coMPLAlNT: $ 25,000

 

Vl. CAUSE OF ACT|ON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cltejurisdictiona| statutes unless diversity.)
15 USC 1602 ~ Vio|ations of the Fair Debt Col!ection F'ractices Aci

 

  

   

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Defendant]

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ClVlL COVER SHEET

Page 1 of 3

 

 

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ClVlL COVER SHEET

Vlll. VENUE; Your answers to the questions below will determine the division of the Court to Wh|ch this case will most likely be initially assigned This initial assignment
is subject to changer in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

Questloh A: Was this case removed from
state court?

 

 

 

 

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box to the right that applies, enter the
corresponding division in response to [j Orange Southern
Question D, below, and skip to Section lX.

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Questlon B: ls the United States, or one of
lts agencies or empioyees, a partyto this
action?

|:| Yes No

 

 

 

 

 

if "no. " go to Question C. if "yes," check the I:I Los Angeles [| Los Angeles Western
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uestion D, beiow, and ski to Section iX.
Q p [:| Orange :| Orange Southern
|:| Riverside or San Bernarc|ino [:| Riverside orSan Bernardino Eastern
|:| Other l:l Other Western

 

 

 

 

 

 

    
  
 
 
   

dicae the locat on nw c a
majority of plaintiffs reside:
indicate the location in which a
majority of defendants reside:

indicate the location in which a
__ma‘orit ofc|aims arose:

g

 

 

§§

 

 

 

 

 

 

€.1 . ls either of the following true? if so, check the one that applies: C.2. ls either of the following true? lfso, check the orie that applies:
\:] 2 or more answers iri Column C |:l 2 or more answers in Co|umn D
[:\ only 1 answer|n Co|umn Cand no answers in Co|umn D |:I only 1 answerin Co|umn D and no answers in Co|umn C
Your case will initially be assigned to the Your case will initially be assigned to the
SOUTHERN D|V|S|ON. EASTERN D|V|S|ON.
Enter "Southern" in response to Question D, below, Enter "Eastern" in response to Question D, beiow.
if none applies, answer question C2 to the right. ll* if none applies, go to the box beiow. l

 

Your case Wi|l initially be assigned to the
WESTERN D|V|S|ON.
Enter "Western" in response to Question D beiow.

 

 

 

 

 
   

Enter the al division determined by Question A. 8. or C above:

Western

 

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see 8:13-Cv-0192aiieeeiieaiisatosireiiiiriis.iaeraoiimtas 'D #116

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ClVlL COVER SHEET
lX(a). lDENTlCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO l:| YES
|fyes, list case number(s]:
lX(b]. RELATED CASES: Have any cases been previously filed in this court that are related to the present case? |X| NO |:| YES

if yes, list case number[s]:

 

Clvll cases are deemed related if a previously filed case and the present cases

lcheck all boxes that applyl l:l A. Arise from the same or closely related transactions, happenings. or events; or

l:| B. Call for determination ofthe same or substantially related or similar questions of law and fact; or

|:l C. For other reasons Wouid entail substantial duplication ofiabor if heard by differentjudges; or

|:| D. involve the same patent, trademark or copyrightl and one of the factors identified above in a, b or c also is present.

 

X. SlGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LlTlGANT}:

 

JW DATE: December 4, 2013

Notice to Counse|lPartfes:The CV-?i (_JS-44J CivE| Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by law. This form,

approved by the Judicia| Conference of the United States in September 1974, is required pursuant to Local Ruie 3-1 is not filed

but is used by the Cierk of the Court for the purpose of statisticsr venue and initiating the civil docket sheet. (For more detailed instructions see separate instructions sheet).

 

Key to Statistical codes relating to Sociai Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HlA

BL

D|WC

DlWW

SS|D

FiSl

Substantive Statement of Cause of Actlon

All claims for health insurance benefits (Medicare) underTitle 18, Part A, of the Socia| Security Act, as amendedl A|so,
include claims by hospitalsr skilled nursing facilities, etc., for certification as providers ofservices under the program
142 U.S.C. 1935FF(|:J))

All claims for "Blacl< Lung" benefits under Titie 4, Part B, ofthe Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Titie 2 ofthe Social Security Act, as amended; plus
ali claims filed for child’s insurance benefits based on disabilityl (42 U.S.C. 405 (g)]

All claims fiied for widows or Widovvers insurance benefits based on disability under Titie 2 of the Social Security Act, as
amended (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Titie 16 ofthe Social Security Act, as
amendedl

All claims for retirement (oid age) and survivors benefits under Titie 2 ofthe Social Security Act, as amended.
(42 u.S.c.405 (gii

 

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